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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

KEVIN HAMMONS,
Plaintiff,

vS. Civil Action N0.04cv2243-B/P
LASIK VISION INSTITUTE, LLC
PEARLE VISION, INC., JAMES and
TINA FLY, d/b/a PEARL vISION,
DAVID S. MURPHY, M.D., and NIA
KOA, OPTOMETRIST,

Defendant.

 

AMENDED RULE l€(b)SCHEDULING ORDER

 

It appearing to the Codrt that the parties have agreed upon
dates for this Amended Scheduling Order, the following deadlines
are hereby ordered:

JOINING PARTIES: September 30, 2005
AMENDING PLEADINGS: September 30, 2005
INITIAL MOTIONS TO DISMISS: OCtObeI 31, 2005

COMPLETING ALL DISCOVERY: April 31, 2006

(a) DocUMENT wRITTEN PRoDUcTIoN: November 30, 2005
(b) DEPOSITIONS= April 28, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

T!'Hs document entered on the docket maj In commence 4
W|th Hu|a 56 and/or 79(0) FHCP 00 8’ ¢" 05

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(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: OCtOber 15, 2005

(2) DEADLINE FOR COMPLETING PLAINTIFF'S DEPOSITIONS:
January 15, 2006

(3) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 28, 2006

(4) DEADLINE FOR COMPLETING DEFENDANT'S EXPERT
DEPOSITIONS: April 30, 2006
PLAINTIFF’S DEADLINE FOR FILING DISPOSITIVE MOTIONS: April 15, 2006

DEFENDANT'S DEADLINE FOR FILING DISPOSITIVE MOTIONS: May 15, 2006

The district judge will notify the parties Of the new trial
date.

IT IS SO ORDERED.

UPQM

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

DATE= Ao§$w.£ Q_$:QDG_§_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
ease 2:04-CV-02243 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Effle Vanzola Bean

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Elizabeth L. Atrutz

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Randy Songstad

DOWDEN SONGSTAD & WORLEY
6077 Primaey Parkway

Ste. 102

1\/1emphis7 TN 38119

Marty R. Phillips

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. BOX 1147

Jaekson, TN 38302--114

Bruee MeMullen

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Elizabeth T. Collins

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

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Lee J. Chase

GLANKLER BROWN, PLLC
One Commeree Square

Suite 1700

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

